          Case 4:18-cr-00014-BMM Document 148 Filed 01/22/19 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                     CR 18-14-GF-BMM

               Plaintiff,
                                               ORDER
      vs.

 STANLEY PATRICK WEBER,

               Defendant.



      Upon unopposed motion of the United States, and for good cause shown,

      IT IS ORDERED that the Clerk of Court file the redacted version of (doc.

143), the defense motion for downward departure, as proposed by the United

States. The Clerk of Court is further directed to strike the original filing from the

record.

      DATED this 22nd day of January, 2019.




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Case 4:18-cr-00014-BMM Document 148 Filed 01/22/19 Page 2 of 2




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